                  UNITED STATES DISTRICT COURT FOR THE
                  WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION

UNITED STATES OF AMERICA,
                                                  DOCKET NO. 3:21cr134

          V.                               ORDER TO DISMISS

KATHLEEN GRACE WARD

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THIS MATTER IS BEFORE THE COURT on Defendant’s Motion to Dismiss the Bill of Indictment,
(Doc. No. 25) in the above captioned case without prejudice.

   IT IS ORDERED, that Defendant’s Motion (Doc. No. 25 ) is GRANTED.



                                Signed: July 8, 2022




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